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 SPECIAL COUNSEL FOR
 SCOTT M. SEIDEL, TRUSTEE

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

  In re:                                            §
                                                    §    Chapter 7
  GOODMAN NETWORKS, INC.,                           §
                                                    §    Case No. 22-31641-mvl-7
            Debtor.                                 §

                              TRUSTEE’S WITNESS AND EXHIBIT
                            LIST FOR HEARING ON MARCH 27, 2024

           Scott M. Seidel (the “Trustee”), the duly appointed chapter 7 trustee in the above-styled

 and captioned bankruptcy case, hereby submit this Witness and Exhibit List for the hearing (the

 “Hearing”), currently scheduled for March 27, 2024 at 9:30 a.m. in connection with the Trustee’s

 Motion Under Bankruptcy Rule 9019 for Approval of Multi-Party Settlement Regarding Property

 of the Estate [Docket No. 502].

                                              WITNESSES

           The Trustee designates the following individuals who may be called as witnesses at the

 Hearing:

           1.     Scott M. Seidel

           2.     Michael J. Quilling

           The Trustee reserves the right to call any witnesses designated or called by any other party.

 The Trustee also reserves the right to call unlisted witnesses for impeachment or rebuttal.

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                                            EXHIBITS

        The Trustee designates the following exhibits that may be used at the Hearing:

        A.      Complaint; FedEx Supply Chain Logistics & Electronics Inc. v. Goodman et al.
                filed in the District Court for the Northern District of Texas, Case Number 3:23-
                cv-02397 [Docket No. 1]

        B.      First Amended Complaint; FedEx Supply Chain Logistics & Electronics Inc. v.
                Goodman et al. filed in the District Court for the Northern District of Texas, Case
                Number 3:23-cv-02397 [Docket No. 70]

        C.      Claim of ARRIS Solutions, Inc. [Claim No. 29-1]

        D.      Claim of FedEx Supply Chain Logistics & Electronics, Inc. [Claim No. 32-1]

        E.      Claim of UMB Bank, National Association, as Bondholder Trustee [Claim No. 13-
                2]

        F.      Claim of U.S. Bank Trust Company, as Collateral Agent [Claim No. 14-1]

        G.      Claim of U.S. Bank, National Association, as Collateral Agent [Claim No. 25-1]

        H.      Indenture for Goodman Networks, Inc. 8.000% Senior Secured Notes Due 2022

        I.      Global Note

        J.      Pledge and Security Agreement

        K.      Fourth Supplemental Indenture

        L.      DACA for Prosperity Account No. 3992

        M.      Notice of Exclusive Control re: Prosperity Account No. 3992

        The Trustee further cross-designates any other exhibit offered by any party at the Hearing.

 The Trustee reserves the right to use any exhibits presented by any other party. The Trustee

 reserves the right to amend and/or supplement this exhibit list. The Trustee also reserves the right

 to use exhibits not listed herein for impeachment or rebuttal purposes at the Hearing.




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       RESPECTFULLY SUBMITTED this 25th day of March, 2024.

                                       By:    /s/ Davor Rukavina
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                                       Special Counsel to Scott M. Seidel, Trustee




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